                       Case 1:12-cv-11050-FDS Document 100 Filed 01/24/14 Page 1 of 1
2 AO 120 (Rev. 3/04)
                              Mail Stop 8                                                  REPORT ON THE
TO:
           Director of the U.S. Patent and Trademark Office                        FILING OR DETERMINATION OF AN
                             P.O. Box 1450                                         ACTION REGARDING A PATENT OR
                      Alexandria, VA 22313-1450                                              TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
            filed in the U.S. District Court
                                                  District of Massachusetts      on the following     G
                                                                                                      ✔ Patents or        G Trademarks:
DOCKET NO.                       DATE FILED                      U.S. DISTRICT COURT
                                               6/13/2012                                  District of Massachusetts
PLAINTIFF                                                                 DEFENDANT
    Perfect Curve, Inc.                                                    Hat World, Inc.




        PATENT OR                      DATE OF PATENT
                                                                                    HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1     6,223,910                                5/1/2001             Perfect Curve, Inc.

2

3

4

5



                    In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                    INCLUDED BY
                                                   G Amendment              G Answer           G Cross Bill          G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                    HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

2

3

4

5



                    In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
Parties reported settlement of case on 1/24/2014.




CLERK                                                      (BY) DEPUTY CLERK                                          DATE
Robert M. Farrell                                          /s/ Pietro Cicolini                                        1/24/2014


Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
